Case 7:18-cr-00865 Document 1 Filed in TXSD on 05/05/18 Page 1 of 2

AO 91 (Rev. 5/85) Criminal Complaint

United States District Court

 

 

SOUTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA
V' CRIMINAL COMPLAINT
Jorge Luis GARCM, YOB: 1998, USWSMEM
811@1€¥1>.{;»&~;1 J ;‘!€cfl`w CASE NUMBER; M__,t@ ,. ©q 6/7" M

?' " 05 2018

 

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I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about May 4, 2018 in Hidalgo county, in the
SOUthCI`I'l DlStI`lCt Of T€XaS defendant($) dlCl, (Track Statutory Language of Offense)

Knowingly and Intentionally possess with Intent to Distribute approx. 98.2 kilograms or more of Marijuana,
a Schedule l Controlled Substance.

Knowingly and Intentionally Conspire to possess with Intent to Distribute approx. 98.2 kilograms or more of
Marijuana, a Schedule l Controlled Substance

in Violation of Title 21 United States Code, Section(s) 841 (a) (l), 846

 

l further state that l am a(n) DEA Task Force Officer and that this complaint is based on the

 

following facts: See Attachment “A”.

Continued on the attached sheet and made a part of hereof: X Yes No
Signature ot'" Complainant '

Eduardo Hemandez, DEA Task Force Off`lcer

Submitted and sworn to via Reliable Electronic
Media,

May 5, 2018 At McAllen, Texas /

 

 

Date City and State
J. Scott Hacker, U.S. Magistrate Judge VF/VMM"_
Name & Title of Judicial Officer Signature of J cial ticer
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On l\/lay 4, 2018, Border Patrol Agents Were operating a camera from Weslaco Station Tactical Operation
Center (TOC). At approximately 5:30 p.m., a BPA agent broadcasted over the radio that he observed a
sedan traveling south on Tower Road from l\/lilitary Highway. The BP Agent then advised that he
observed several subjects emerging from the brush at the river levee and running toward a silver sedan.
lt should be noted that this area is approximately 0.3 miles north of the Rio Grande River.

BP agents reported observing What appeared to be subjects getting into the vehicle and subjects that
remained on the border levee as the silver sedan sped north on Tow.er Road. Due to the fact that this
area is notorious for both alien and narcotics smuggling, the BP Agent operating the camera relayed
What he observed via radio for nearby units to respond.

At approximately 5:35 p.m. BP Agents observed a silver Chevrolet Cruze turning Westbound onto
l\/lilitary Highway from Tower Road. When the vehicle approached F.l\/l. 907, BP Agents activated the
lights and sirens of their marked unit in order to perform an immigration inspection of the subjects
inside the vehicle. The vehicle immediately pulled over onto the shoulder of F.l\/l. 907 and came to a
stop. ’

BP Agents approached the driver's side door on foot and through the vehicle rear Window, they could
see multiple large marijuana bundles in the backseat. The driver, later identified as Jorge Luis GARC|A,
DOB: 01/10/1998, Was arrested for drug smuggling Once at the BP Weslaco Station, the three '
marijuana bundles yielded an official Weight of approximately 98.2 kilograms.

Under l\/liranda advisement and Waiver, GARClA told DEA Agents that he accepted to transport the
marijuana and was going to receive $1, OOO. 00 USD upon delivery.

